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 9                              UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEVADA
10

11 BATTLE MOUNTAIN BAND of the TE-                       )
   MOAK TRIBE OF WESTERN SHOSHONE                        ) Case No. 3:16-cv-0268 LRH-WGC
12 INDIANS,                                              )
                                                         )
13                                          Plaintiff,
                                                         )
     v.                                                  ) DEFENDANTS’ JOINT MOTION FOR
14
   U.S. BUREAU OF LAND MANAGEMENT,                       ) EXTENSION OF TIME (Second Request)
15 and JILL SILVEY, in her official capacity as          )
   Bureau of Land Management Elko District               )     AND ORDER THEREON
16 Manager,                                              )
                                                         )
17                                    Defendants,        )
18 and                                                   )
                                                         )
   CARLIN RESOURCES, LLC,                                )
19
                    Defendant-Intervenor                 )
20                    and Crossclaimant.                 )
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 1          On May 18, 2020, counsel for Defendant-Intervenor/Cross-Claimant Carlin/Hecla
 2   (Hecla) and Federal Defendants filed a Joint Motion for Extension of Time (ECF No. 134)
 3   extending deadlines for lodging of the administrative record and for summary judgment briefing
 4   in this case brought pursuant to the Administrative Procedure Act, 5 U.S.C. § 706 et seq. This
 5   Joint Motion for Extension of Time was granted by the Court on May 28, 2020 (ECF No. 135).
 6   The Motion for Extension of Time indicated that Hecla would file its opening Motion for
 7   Summary Judgment on July 15, 2020. However, the parties continue to make progress on the
 8   settlement of the claims in this case, which may avoid the need for further proceedings. That
 9   process has taken longer than anticipated in light of logistical constraints caused by the COVID-
10   19 pandemic and the unavailability of various participants.
11          Thus, Hecla and the Federal Defendants hereby move to extend the deadlines for
12   summary judgment briefing in this case by an additional 60 days. The following deadlines
13   would apply:
14   1.     Helca to File Motion for Summary Judgment: September 14, 2020
15   2.     Federal Defendants to file Cross-Motion for Summary Judgment and Opposition to
16          Summary Judgment: October 30, 2020
17   3.     Hecla to file Opposition to Cross-Motion for Summary Judgment and Reply in Support
18          of Motion for Summary Judgment: November 13, 2020
19   4.     Federal Defendants to file Reply in Support of Cross-Motion for Summary Judgment:
20          December,18,
            December  2020.
                         2020.
21          DATED this 7th day of July, 2020
22
                                                  By: /s/ Laura K. Granier
23
                                                      Laura K. Granier, Esq (SBN 7357)
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13

14                                       ORDER
15

16   IT IS SO ORDERED.

17   DATED this 8th day of July, 2020.
18
                                                    _______________________________
19                                                  LARRY R. HICKS
20                                                  UNITED STATES DISTRICT JUDGE

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